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        UNITED STATES DISTRICT COURT..
        SOUTHERN DISTRICT OF NEW YORK
        -   -   -    -   -   -       -    -       -   -   -   -   -   X

        UNITED STATES OF AMERICA                                          SEALED INDICTMENT

                             -       V.       -
                                                                          19 Cr.
        BRYAN COHEN,

                                              Defendant.
                                                                             19CRIM 741
        - - - - - - - - - - - - - - - X

                                                        COUNT ONE
                                         (Conspiracy to Commit Securities Fraud)

                    The Grand Jury charges:

                                                  Relevant Individuals and Entities

                    1.       At all times relevant to this Indictment, Investment

        Bank A was a global investment banking advisory firm with

        offices in, among other locations, London, England, and

        Manhattan, New York.

                    2.       At all times relevant to this Indictment, BRYAN COHEN,

        the defendant, was employed in the investment banking division

        of Investment Bank A, first as an associate in London, England,

        and later as a vice_president in Manhattan, New York.

                    3.       At all times relevant to this Indictment, a co-

        conspirator not named as a defendant herein ("CC-1") was a

        securities trader residing in Switze,rland.

                    4.       ~~          all times relevan~ to this Indictment, Buffalo Wild
                         '       '                                    '


        Wings, Inc.                  ("Buffalo") was a bar and restaurant chain
headquartered in Minneapolis, Minnesota.   Buffalo's securities

traded under the symbol "BWLD" on the NASDAQ.    During the

relevant time period, Buffalo was a client of Investment Bank A.

                    The Insider Trading Scheme

     5.    By virtue of his employment at Investment Bank A,

BRYAN COHEN, the defendant, had access to material, non-public

information ("MNPI") relating to corporate transactions.      COHEN

understood that such information relating to corporate

transactions was strictly confidential and that, pursuant to

Investment Bank A's policies and procedures, he was prohibited

from trading on such information or sharing such information for

the purpose of enabling others to trade based on it.

     6.    Notwithstanding his duties to keep this information

confidential, from at least in or about 2015 through at least in

or about 2017, BRYAN COHEN, the defendant, passed MNPI he had

obtained from Investment Bank A to CC-1, with the understanding

that CC-1 would trade based on that information.    During the

course of the scheme, COHEN provided both the facts of potential

corporate acquisitions as well updates about how the deals were

progressing over time to CC-1.

     7.    After receiving MNPI from BRYAN COHEN, the defendant,

CC-1 traded upon that information thereby earning substantial

profits.   CC-1 executed such trades through, among other

avenues, an investment fund (the "Fund") run by CC-1 and a

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business associate of CC-l's (the "Associate").

     8.    In exchange for providing the MNPI from Investment

Bank A, CC-1 provided BRYAN COHEN, the defendant, with benefits,

including cash.

     9.    BRYAN COHEN, the defendant, also took steps to conceal

his unlawful scheme.   For example, COHEN and CC-1 communicated

through unregistered "burner" cellphones and arranged for cash

to be paid to COHEN in-person and through intermediaries.     After

he began working in New York, COHEN picked up burner phones at a

business run by the Associate in Manhattan, New York (the

"Business") .

                       Statutory Allegations

     10.   From at least in or about 2015 through in or about

2017, in the Southern District of New York and elsewhere, BRYAN

COHEN, the defendant, and others known and unknown, willfully

and knowingly combined, conspired, confederated, and agreed

together and with each other to commit an offense against the

United States, to wit, securities fraud,   in violation of Title

15, United States Code, Sections 78j (b) and 78ff, and Title 17,

Code of Federal Regulations, Section 240.l0b-5.

     11.   It was a part and an object of the conspiracy that

BRYAN COHEN, the de~endant, and others known and unknown,
                If
willfully and knowingly, directly and indirectly, by the use of

means and instrumentalities of interstate commerce, and of the

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mails, and of facilities of national securities exchanges, would

and did use and employ, in connection with the purchase and sale

of securities, manipulative and deceptive devices and

contrivances in violation of Title 17, Code of Federal

Regulations, Section 240.l0b-5, by:    (a) employing devices,

schemes, and artifices to defraud;    (b) making untrue statements

of material fact and omitting to state material facts necessary

in order to make the statements made, in the light of the

circumstances under·which they were made, not misleading; and

(c) engaging in acts, practices, and courses of business which

operated and would operate as a fraud and deceit upon persons.

                            Overt Acts

     12.   In furtherance of the conspiracy, and to effect the

illegal objects thereof, BRYAN COHEN, the defendant, and others

known and unknown, committed the following overt acts, among

others, in the Southern District of New York and elsewhere:

           a.   On or about September 12, 2017, COHEN

communicated by phone with an individual working at the Business

in Manhattan, New York from which COHEN picked up burner phones.

           b.   In or about October 2017, COHEN, while employed

at Investment Bank A in Manhattan, New York, accessed documents

and information related to a potential acquisition of Buffalo.

            (Title 18, United States Code, Section 371.)




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                            COUNT TWO
      (Conspiracy to Commit Wire Fraud and Securities Fraud)

     The Grand Jury further charges:

     13.   The alleg~tions contained in paragraphs 1 through 9

and 12 of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

     14.   From at least in or about 2015 through in or about

2017, in the Southern District of New York and elsewhere, BRYAN

COHEN, the defendant, and others known and unknown, willfully

and knowingly, did combine, conspire, confederate, and agree

together and with each other to commit (a) wire fraud, in

violation of Title 18, United States Code, Section 1343; and (b)

securities fraud, in violation of Title 18, United States Code,

Section 1348.

     15.   It was a ~art and an object of the conspiracy that

BRYAN COHEN, the defendant, and others known and unknown,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and

property by means of false and fraudulent pretenses,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds for the purpose of




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executing such scheme and artifice, in violation of Title 18,

United States Code, Section 1343.

        16.   It was further a part and an object of the conspiracy

that BRYAN COHEN, the defendant, and others known and known,

willfully and knowingly would and did execute a scheme and

artifice to (a) defraud persons in connection with securities of

an issuer with a class of securities registered under Section 12

of the Securities Exchange Act of 1934 and that was required to

file reports under Section 15(d) of the Securities Exchange Act

of 1934, and (b) obtain, by means of false and fraudulent

pretenses, representations, and promises, money and property in

connection with the purchase and sale of securities of an issuer

with a class of securities registered under Section 12 of the

Securities Exchange Act of 1934 and that was required to file

reports under Section 15(d) of the Securities Exchange Act of

1934, in violation of Title 18, United States Code, Section

1348.

              (Title 18 ,· United States Code, Section 1349.)




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                         FORFEITURE ALLEGATION

     17.     As a result of committing one or more of the offenses

alleged in Counts One and Two of this Indictment, BRYAN COHEN,

the defendant, shall forfeit to the United States pursuant to

Title 18, United States Code, Section 98l(a) (1) (C) and Title 28,

United States Code, Section 2461, any and all property, real and

personal, that cons~itutes or is derived from proceeds traceable

to the commission of the offenses alleged in Counts One and Two

of this Indictment, that the defendant personally obtained.

                      Substitute Assets Provision

     18.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.   cannot be located upon the exercise of due

diligence;

             b.   has been transferred or sold to, or deposited

with, a third party;

             c.   has been placed beyond the jurisdiction of the

court;

             d.   has been substantially diminished in value; or

             e.   has been commingled with other property which

cannot be divided without difficulty,

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), to seek forfeiture of any




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other property of the defendant up to the value of the

forfeitable property described above.

           (Title 18, United States Code, Section 981;
           Title 21, United States Code, Section 853;
        and Title 28, United States Code, Section 2461.)




                              A~l1~~
                              Attorney for the United States,
                              Acting Under Authority Conferred
                              by 28 U.S.C. § 515




                                8
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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK


      UNITED STATES OF AMERICA

               - v. -

            BRYAN COHEN,


             Defendant.


          SEALED INDICTMENT

               19 Cr.

(Titie 18, United States Code, Sections
            371 and 1349.)




                          AUDREY STRAUSS
                        Attorney for the
                        United States
                        Acting Under
                         Authority
                        Conferred by
                        28 u.s.c. § 515




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